                                                         Receipt number 9998-4390251
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                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS                             FILED
                                                                                       DEC 28, 2017
                                )                                                     U.S. COURT OF
MAINE COMMUNITY HEALTH OPTIONS, )
                                                                                     FEDERAL CLAIMS
                                )
                Plaintiff,      )
                                                       Case No. ______
                                                                 17-2057 C
                                )
     v.                         )
                                )
                                                       COMPLAINT
THE UNITED STATES OF AMERICA,   )
                                )
                Defendant.      )
                                )


         Plaintiff Maine Community Health Options (“Plaintiff” or “Health Options”) brings this

action against the United States (“Defendant” or “Government”) seeking damages and other

relief for the Defendant’s: (1) violation of its cost-sharing reduction (“CSR”) payment

obligations required by Section 1402 of the Patient Protection and Affordable Care Act (“Section

1402”), codified at 45 C.F.R. § 156.430 (“Section 156.430”); and (2) breach of its CSR payment

obligations under an implied-in-fact contract. This action seeks damages in the amount of the

CSR payments the Government owes Plaintiff for benefit year 2017. In support of this action,

Plaintiff states and alleges as follows:

                                      NATURE OF ACTION

         1.      In March 2010, Congress enacted the Patient Protection and Affordable Care Act 1

and the Health Care and Education Reconciliation Act 2 (collectively, the “Affordable Care Act,”

“Act,” or “ACA”).




1
    Pub. L. No. 111-148, (March 23, 2010), 124 Stat. 119.
2
    Pub. L. No. 111-152, (March 30, 2010), 124 Stat. 1029.
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       2.      The Act represented a major shift in health care coverage and regulation in the

country, with the principal objective of making comprehensive and affordable health insurance

available to tens of millions of then-uninsured Americans.

       3.      To accomplish its aims, the ACA ushered in a host of market-wide reforms and

requirements affecting the private health insurance industry. Among other things, the Act

addressed the scope of covered services, availability of coverage, renewability of coverage, out-

of-pocket costs for consumers, pricing, and other coverage determinants. The Act limits health

insurance product variation and restricts pricing and underwriting practices. For example, by

placing restrictions on the premium spread based on the age of the policy holder, the Act ensures

that premiums are based on community rating (i.e., the risk pool posed by the entire community)

instead of an assessment of an individual’s health status. The Act also provides for guaranteed

issuance of coverage and renewability of coverage.

       4.      The ACA requires individuals to purchase coverage if they are not otherwise

insured, but it also created a support system of federal subsidies to offset the costs of coverage.

The ACA’s individual mandate, coupled with the availability of federal subsidies, was designed

to realize the ACA’s twin goals of increasing both the availability and affordability of health

insurance coverage. Together, they dramatically increased the number of individuals—many

previously uninsured—purchasing health insurance. To help serve the vastly expanded pool of

individuals seeking coverage, the ACA also established health insurance exchanges—online

marketplaces where individuals and small groups may purchase health insurance. Created by

Title I, Subtitle D of the ACA, the health insurance exchanges “are designed to bring together

buyers and sellers of insurance, with the goal of increasing access to coverage” offered in a

competitive marketplace.



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       5.      Health insurance issuers selling insurance on the exchanges are required to offer

qualified health plans in the individual and small group markets. A qualified health plan

(“QHP”) is a health plan that meets certain standards established by the Centers for Medicare &

Medicaid Services (“CMS”) in order to be sold to consumers through the exchanges.

       6.      The ACA classifies plans offered on the exchanges into one of four metal

levels—silver, gold, platinum, and bronze—based on their cost-sharing requirements—

coinsurance, copayments, and deductibles a policyholder must pay out-of-pocket until satisfying

a maximum in a benefit year 3 as established by regulation. 42 U.S.C. § 18022(d); 45 C.F.R.

§ 156.130.

       7.      A “silver” plan is a plan structured so that the insurer pays approximately 70% of

the average enrollee’s health care costs, leaving the enrollee responsible (before the application

of the subsidy) for the other 30% through cost sharing. 42 U.S.C. § 18022(d). Under the ACA,

an insurer must reduce cost sharing for eligible individuals enrolled in “silver” plans through an

exchange. Id. § 18071(c)(2).

       8.      In a “gold” or “platinum” plan, the insurer bears a greater portion of health care

costs, while under a “bronze” plan, the insurer is responsible for a lower portion of those costs.

Id. An insurer that offers coverage on an exchange is required to offer at least one plan at both

the “silver” and “gold” levels of coverage. Id. § 18021(a)(1)(C)(ii). The ACA does not require

insurers to reduce cost sharing for individuals enrolled in “gold,” “platinum,” or “bronze” plans.

       9.      To realize the goal of making affordable health insurance available to low- and

moderate-income Americans, the ACA, among other things, established an integrated program of



3
 A “benefit year” is “a calendar year for which a health plan provides coverage for health
benefits.” 45 C.F.R. § 155.20.


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subsidies to defray both the premium expenses and out-of-pocket costs of health insurance with

two main components: premium tax credits and cost-sharing reductions.

       10.     First, Section 1401 of the ACA provides premium tax credits for qualified

individuals with household income between 100% and 400% of the federal poverty level who

purchase health insurance through the exchanges established by the Act. 26 U.S.C. § 36B.

Because these tax credits are refundable, they can subsidize insurance purchased by individuals

who have no income tax liability. See Congressional Budget Office (“CBO”), Refundable Tax

Credits at 1 (Jan. 2013), available at www.cbo.gov/sites/default/files/113th-congress-2013-

2014/reports/43767_RefundableTaxCredits_2012_0_0.pdf. The vast majority of individuals

who buy insurance on an exchange rely on advance payments of these premium tax credits. See

King v. Burwell, 135 S. Ct. 2480, 2493 (2015).

       11.     Second, and most pertinent here, Section 1402 of the ACA requires insurers to

provide “cost-sharing” reductions to individuals who are determined eligible to receive tax

credits under Section 1401 and whose household income is below 250% of the federal poverty

level. 42 U.S.C. § 18071(c)(2), (f)(2). As noted above, “cost-sharing” refers to out-of-pocket

payments to health care providers in the form of copayments, coinsurance, and deductibles that

individuals are typically required to pay under their insurance plan. See CBO, Key Issues in

Analyzing Major Health Insurance Proposals at 15-17 (Dec. 2008), available at

www.cbo.gov/publication/41746.

       12.     Insurers, in turn, are guaranteed by the ACA to be reimbursed by the Government

for the cost-sharing reductions they pay to their insureds. Specifically, the ACA requires that the

Secretaries of Health and Human Services (“HHS”) and the Treasury “shall make periodic and

timely payments to the [QHP] issuer equal to the value of the reductions.” 42 U.S.C.



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§ 18071(emphasis added). These advance payments are made directly to health insurance

issuers. Id. at § 18082(a)(3).

       13.     The statutory guarantee of reimbursement is one of the ACA’s lynchpins. If

insurers are not compensated by the Government for making the required cost-sharing reductions

for eligible individuals enrolled in silver plans as required by the statute, insurers have no ability

to adjust premiums mid-year to capture the statutory obligation to pay providers the enhanced

coverage of the CSRs. In other words, carriers are left to meet their obligations and the

Government’s obligations due to the Government’s refusal to meet its statutory obligations.

       14.     Health Options is the largest writer of individual health insurance in the State of

Maine. Consistent with the ACA’s intended mission for Consumer Operated and Oriented Plan

(“CO-OP”), 4 Health Options insures individuals and groups in industries that have typically

lacked insurance coverage or have been underinsured: farmers, fishermen, artists, sole

proprietors, and small businesses. Health Options also worked with various social service

agencies to connect people who have serious chronic conditions to offer coverage. For example,

Health Options’ 2017 enrollment includes the vast majority of all patients with HIV/AIDS who

accessed marketplace coverage.

       15.     Maine insurance regulations do not permit health plans, such as Health Options,

to raise premiums mid-benefit year (as opposed to prospectively) to cover the cost of providing

the cost-sharing reductions.




4
  Congress created the CO-OP program in ACA Section 1322, which explicitly states that “the
purpose of the CO-OP program [is] to foster the creation of qualified nonprofit health insurance
issuers to offer qualified health plans in the individual and small group markets[.]” 42 U.S.C.
§ 18042(a)(2).


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       16.     In an October 12, 2017 memorandum, HHS Acting Secretary Eric Hargan

informed CMS that “CSR payments to issuers must stop, effective immediately.” 5 According to

the memorandum, this instruction was premised upon a legal opinion of the U.S. Attorney

General concluding that the CSR program lacked a valid appropriation.

       17.     The Government’s failure to pay CSR reimbursements deprives QHP issuers,

including Health Options, of money to which they are entitled by statute on account of their

performance in the exchanges for benefit year 2017. CBO estimated CSR payments of

approximately $7 billion for fiscal year 2017. 6 Regardless of whether Congress appropriated

sufficient funds to HHS to make the CSR payments, the Government’s statutory obligation to

make such payments, and Plaintiff’s right to those payments, remain.

       18.     By this lawsuit, Plaintiff seeks full payment of the CSR payments it is entitled to

under the ACA and that the Government currently owes. The law is clear, and the Government

must abide by its statutory obligations. Plaintiff respectfully asks the Court to compel the

Government to do so.

                                        JURISDICTION

       19.     This Court has jurisdiction over the subject matter of this action pursuant to the

Tucker Act, 28 U.S.C. § 1491. The statutory cause of action giving rise to this Court’s Tucker

Act jurisdiction is Section 1402, a money-mandating statute that requires payment from the

federal government to QHP issuers that satisfy certain criteria. Section 156.430 is a money-



5
  Oct. 12, 2017 Mem. from E. Hargan to S. Verma re Payments to Issuers for Cost-Sharing
Reductions (CSRs), available at https://www.hhs.gov/sites/default/files/csr-payment-memo.pdf
6
  See CBO, Federal Subsidies Under the Affordable Care Act for Health Insurance Coverage
Related to the Expansion of Medicaid and Nongroup Health Insurance: Tables from CBO’s
January 2017 Baseline at 4, available at
https://www.cbo.gov/sites/default/files/recurringdata/51298-2017-01-healthinsurance.pdf.


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mandating regulation that implements Section 1402 and thus also obligates payment from the

federal government to QHP issuers that satisfy certain criteria. See 45 C.F.R. § 156.430.

       20.      In the alternative, the Contract Disputes Act (“CDA”), 41 U.S.C. §§ 7101 et seq.,

a money-mandating statute, provides Plaintiff a cause of action that gives rise to this Court’s

jurisdiction pursuant to the Tucker Act.

       21.      This controversy is ripe because HHS has refused to pay Plaintiff the full amounts

owed for CSRs as required by Section 1402, Section 153.460, and the parties’ implied-in-fact

contract.

                                             PARTIES

       22.      Plaintiff, Health Options, is a nonprofit corporation organized under the laws of

Maine, with its principal place of business in Lewiston, Maine.

       23.      Health Options is a member-led QHP issuer on the exchanges in the State of

Maine. It is organized as a nonprofit under the CO-OP model and offers comprehensive health

insurance benefits to individuals, families, and businesses in Maine. Its stated mission is to

partner with members, employers, and providers to create affordable, high-quality benefits that

promote health and wellbeing. Health Options is the State of Maine’s only nonprofit CO-OP

insurer and the only nonprofit issuer on the marketplace that is domiciled in Maine.

       24.      Health Options began providing affordable, high-quality health plans in Maine in

2014. Since commencing business, Health Options’ enrollment grew to over 75,000 members at

its peak, making it the largest writer of individual health insurance in the State of Maine. In its

first year of operations, Health Options attracted over 80 percent of the exchange enrollment in

Maine. But for Health Options’ existence, there would have been only one carrier on Maine’s

individual marketplace in 2014, and this is also true for 2018. Currently, Health Options insures



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the biggest share of the individual on-exchange market in Maine, and has attracted over half of

the State’s individual marketplace for the 2018 benefit plan year.

         25.      Health Options conducted and participated in over a thousand outreach and

educational sessions throughout Maine on the availability of coverage through the ACA, the

mechanics of the marketplace, and the benefit plans offered by Health Options. Health Options

has focused its outreach broadly across its entire service area, including many rural parts of the

State.

         26.      To improve accessibility of information on access to health care, Health Options

has teamed with the Lobstermen’s Association and run articles in its trade newsletter,

participated in farming conventions and related trade shows, and participated in various events

targeting uninsured and under-insured individuals.

         27.      In short, Health Options has aggressively pursued the ACA’s goal of connecting

the people in its service area to insurance coverage opportunities with the understanding that a

broader base of insured is better for the individuals within the pool and the overall functioning of

the marketplace.

         28.      The Defendant is the Government, acting through CMS (or CMS’s parent agency

HHS). Unless otherwise noted, references in this Complaint to CMS include HHS where

applicable.

                                    FACTUAL ALLEGATIONS

               A. The Affordable Care Act Established a Cost-Sharing Reduction Program
                  with Advance Payment Obligations

         29.      The Affordable Care Act imposed certain obligations on the federal government

to help incentivize the participation of private insurers, stabilize premiums, and induce the

uninsured to purchase health insurance coverage. Relevant to this dispute, the ACA established


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a cost-sharing reduction subsidy, paid preemptively to certain qualified insurers, to facilitate the

core statutory mission of providing affordable health care to low- and moderate-income

Americans.

       30.     Section 1402 of the Affordable Care Act, as codified at 42 U.S.C. § 18071,

created the CSR program. In relevant part, that Section states:

       (a) IN GENERAL.—In the case of an eligible insured enrolled in a qualified
       health plan—

               (1) the Secretary shall notify the issuer of the plan of such eligibility; and

               (2) the issuer shall reduce the cost-sharing under the plan at the level and
               in the manner specified in subsection (c).

                                           [ . . . .]

       (c)(3) Methods for Reducing Cost-Sharing

               (A) In general. An issuer of a qualified health plan making reductions
               under this subsection shall notify the Secretary of such reductions and the
               Secretary shall make periodic and timely payments to the issuer equal to
               the value of the reductions.

See 42 U.S.C. § 18071(emphasis added).

       31.     HHS implemented the CSR payments in the Code of Federal Regulations at 45

C.F.R. § 156.430. In relevant part, Section 156.430 states that “[a] QHP issuer will receive

periodic advance payments based on the advance payment amounts calculated in accordance

with § 155.1030(b)(3) of this subchapter.” (emphasis added). Section 155.1030(b)(3) and other

regulations set forth the calculation methodologies applicable to CSR payments.

       32.     Following the ACA’s implementation, the Government established a CSR

reimbursement schedule under which the Government would provide the required periodic

advance payments to QHP issuers. See 42 U.S.C. § 18082; 45 C.F.R. § 156.430(b)-(d). The

reimbursements are then periodically reconciled to the actual amount of cost-sharing reductions


                                                    9
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made to enrollees and providers. 45 C.F.R. § 156.430(c). Specifically, CMS established “a

payment approach under which HHS would make monthly advance payments to issuers to cover

projected cost-sharing reduction amounts, and then reconcile those advance payments at the end

of the benefit year to the actual cost-sharing reduction amounts.” 7 “After the close of the benefit

year, QHP issuers must submit to HHS information on the actual value of the cost-sharing

reductions provided” and HHS “would then reconcile the advance payments and the actual cost-

sharing reduction amounts.” 8 Finally, the Government would reimburse the QHP issuer “any

amounts necessary to reflect the CSR provided or, as appropriate, the issuer [would] be charged

for excess amounts paid to it.” 9

             B. QHP Issuers Participated in Exchanges and Set Prices in Reliance on the
                Cost-Sharing Reduction Payments

       33.      For QHP issuers to participate on the marketplaces for the 2017 benefit year, they

had to submit their premiums to the appropriate state or federal regulatory authority during May

2016 and submit a signed Qualified Health Plan Issuer Agreement (“QHPIA”) to CMS by the

end of September 2016. 10 Health Options timely submitted a signed QHPIA, and by doing so

committed itself to offering health insurance coverage on the exchange for benefit year 2017.

Because the QHPIA has limited termination rights, and because terminating the QHPIA under

7
  CMS, HHS Notice of Benefit and Payment Parameters for 2014 (Mar. 11, 2013), at 7, available
at https://www.cms.gov/CCIIO/Resources/Files/Downloads/payment-notice-technical-summary-
3-11-2013.pdf.
8
  Id.
9
  CMS, Manual for Reconciliation of the Cost-Sharing Reduction Component of Advance
Payments for Benefit Years 2014 and 2015 (Mar. 16, 2016), at 28, available at
https://www.cms.gov/CCIIO/Resources/Regulations-and-
Guidance/Downloads/CMS_Guidance_on_CSR_Reconciliation-
for_2014_and_2015_benefit_years.pdf; see also 45 C.F.R. 156.430(e).
10
   CMS, Key Dates for Calendar Year 2016: QHP Certification in the Federally-facilitated
Marketplaces; Rate Review; Risk Adjustment and Reinsurance (Dec. 23, 2015), available at
https://www.cms.gov/CCIIO/Resources/Regulations-and-Guidance/Downloads/Final-2016-key-
dates-table-April-2016.pdf.


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any circumstance does not obviate the issuer’s obligations under state law to continue coverage

for enrollees who purchased the plan, Health Options’ commitment to the 2017 marketplace was

effectively irrevocable as of the end of September 2016. 11

         34.      Health Options committed itself to participating in the marketplace in 2017 with

the express understanding—based on the plain text of Section 1402 and the Government’s

actions in previous benefit years—that, for those plans that required the issuers to reduce cost-

sharing obligations of the enrollee, the Government would honor the statutory mandate, i.e., “the

Secretary shall make periodic and timely payments to the issuer equal to the value of the

reductions.” And in fact, in accordance with that understanding, the Government made monthly

advance payments from January 2014 up and until October 2017. It was not until October 12,

2017—over a year after Health Options had committed itself irrevocably to the 2017 exchange—

that the Government first announced that it would not make CSR payments for the remainder of

the 2017 benefit year.

               C. Appropriations for Cost-Sharing Reduction Reimbursements

         35.      Section 1401 of the ACA added a new section to the Internal Revenue Code that

provided eligible insureds with premium tax credits to cover their health insurance premiums.

26 U.S.C. § 36B. The ACA also amended 31 U.S.C. § 1324, which establishes a permanent

appropriation of “[n]ecessary amounts . . . for refunding internal revenue collections as provided

by law,” including “refunds due from” specified provisions of the tax code. 31 U.S.C. § 1324.

Specifically, Section 1401 of the ACA amended the list in Section 1324 to include “refunds due

from” Section 36B. 26 U.S.C. § 36B. Until October 2017, the Government relied on the

appropriation in Section 1324 to pay amounts owed under both Sections 1401 and 1402.


11
     See 45 C.F.R. § 147.106(b).


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         36.     In its April 2013 budget request to Congress for fiscal year 2014, the Office of

Management and Budget (“OMB”) included a request for a line-item appropriation designating

funds for the payment of cost-sharing reductions. See Fiscal Year 2014 Budget of the United

States Government, Appendix at 448 (Apr. 10, 2013). The same day, HHS separately submitted

its justification to congressional appropriations committees stating that “CMS requests an

appropriation in order to ensure adequate funding to make payments to issuers to cover reduced

cost-sharing in FY 2014.” See HHS, Fiscal Year 2014, CMS, Justification of Estimates for

Appropriations Committees at 184 (Apr. 10, 2013).

         37.     Congress did not provide the line-item appropriation requested by HHS. See

S. Rep. No. 113-71, 113th Cong. at 123 (July 11, 2013). Congress never repealed or amended

the CSR provision, however, and the October 2013 legislation references the existence of CSR

reimbursements. See Continuing Appropriations Act, 2014, Pub. L. No. 113-46, Div. B,

§ 1001(a), 127 Stat. 558, 566 (Oct. 17, 2013) (requiring HHS to certify that a program was in

place to verify that applicants were eligible for “premium tax credits . . . and reductions in cost-

sharing” before “making such credits and reductions available”).

         38.     In January 2014, HHS began making monthly advance payments to reimburse

QHP issuers for cost-sharing reductions, 12 relying on Section 1324 as the appropriation for these

payments. 13


12
   See CMS, Manual for Reconciliation of the Cost-Sharing Reduction Component of Advance
Payments for Benefit Years 2014 and 2015 (Mar. 16, 2016), at 27 (“Payments to issuers of
estimated monthly amounts began in January 2014.”), available at
https://www.cms.gov/CCIIO/Resources/Regulations-and-
Guidance/Downloads/CMS_Guidance_on_CSR_Reconciliation-
for_2014_and_2015_benefit_years.pdf.
13
   See Letter from Sylvia M. Burwell, Dir., OMB, to Senators Ted Cruz and Michael S. Lee, at
Responses p. 4 (May 21, 2014), (“cost-sharing subsidy payments are being made through the
advance payments program and will be paid out of the same account from which the premium
(Continued...)

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       39.      Congress has never included any language in appropriations or other bills

preventing HHS, CMS, or the Treasury from accessing certain funds or accounts to make CSR

payments.

             D. Legal Challenge By House of Representatives

       40.      On November 21, 2014, the U.S. House of Representatives (the “House”) filed a

complaint against HHS and the Treasury, in which it sought an injunction preventing the

executive branch from “making any further Section 1402 Offset Program payments to Insurers

unless and until a law appropriating funds for such payments is enacted.” See Compl. at ¶ 27,

House v. Burwell, Case No. 1:14-cv-01967-RMC, Dkt. 1 (D.D.C. filed Nov. 21, 2014). In its

complaint, the House argued that “Congress has not, and never has, appropriated any funds

(whether through temporary appropriations or permanent appropriations) to make any Section

1402 Offset Program payments to Insurers.” Id. at ¶ 28. The Government moved for summary

judgment, asserting that 31 U.S.C. § 1324 provided a permanent appropriation for both Section

1401 premium tax credits and Section 1402 CSR reimbursements. See Defs.’ Mem. ISO Mot.

for Summ. J., House v. Burwell, Case No. 1:14-cv-01967-RMC, Dkt. 55-1 (D.D.C. Dec. 2, 2015)

at 11. 14 The district court ruled in favor of the House and entered an injunction preventing any

further reimbursements under Section 1402, but stayed the injunction pending resolution of any

appeal. House v. Burwell, 185 F. Supp. 3d 165 (D.D.C. 2016).
________________________
tax credit portion of the advance payments for that program are paid”), available at
http://www.cruz.senate.gov/files/documents/Letters/20140521_Burwell_Response.pdf.
14
   In its summary judgment briefing papers, the Government expressly acknowledged that the
ACA “requires the government to pay cost-sharing reductions to issuers” and that “[t]he absence
of an appropriation would not prevent the insurers from seeking to enforce that statutory right
through litigation.” Defs.’ Mem. ISO Mot. for Summ. J., House v. Burwell, Case No. 1:14-cv-
01967-RMC, Dkt. 55-1 (D.D.C. Dec. 2, 2015) at 20. Moreover, the Government acknowledged
that prevailing insurers “can receive the amount to which it is entitled from the permanent
appropriation Congress has made in the Judgment Fund. . . . The mere absence of a more specific
appropriation is not necessarily a defense to recovery from that Fund.” Id.


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       41.      The Government appealed the ruling to the D.C. Circuit. In November 2016, the

House asked the court of appeals to hold the case in abeyance to “provide the President-Elect and

his future Administration time to consider whether to continue prosecuting or to otherwise

resolve this appeal.” Appellee’s Mot. to Hold Briefing in Abeyance, House v. Burwell, Case

No. 16-5202, Dkt. No. 1647228 (D.C. Cir. Nov. 21, 2016) at 1-2. The D.C. Circuit granted

the request and the appeal remained in abeyance until Friday, December 15, 2017, when the

parties announced that they had reached a settlement providing for the parties to request that

district court’s decision case to be vacated.

             E. The Government’s Newly Announced Refusal to Reimburse CSRs

       42.      Although the Government continued to make CSR reimbursements for most of

2017, it decided in October 2017 to stop doing so, arguing that 31 U.S.C. § 1324 could not be

used to fund CSR reimbursements. The Department of Justice concluded that Section 1401

premium tax credits and Section 1402 CSR reimbursements were two distinct programs, and the

permanent appropriation in Section 1324 only provided funding for the Section 1401 premium

tax credits. See Oct. 11, 2017 Ltr. from Att. Gen. Sessions to Secretary of Treasury and Acting

Secretary of HHS. The next day, HHS announced that it would stop making CSR

reimbursements “until a valid appropriation exists.” Oct. 12, 2017 Mem. from E. Hargan to S.

Verma re Payments to Issuers for Cost-Sharing Reductions (CSRs).

             F. Plaintiff Has Suffered Substantial Harm as a Result of The Government’s
                Refusal to Pay Amounts Owed

       43.      Health Options is a nonprofit insurer that invests millions of dollars in community

endeavors designed to establish adequate health standards. It further promotes expansive

benefits coverage and superb quality in its health care model and has provided coverage to

traditionally underserved populations, particularly rural communities.


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       44.      QHP issuers are required by state and federal regulations to set their ACA-related

health insurance rates well before the year they become effective. These unreimbursed costs are

enormous. The CBO estimates that CSR reimbursements to QHP issuers will be $7 billion in

fiscal year 2017, $10 billion in 2018, and rise to $16 billion by 2027. 15 An April 2017 study

analyzing the potential effect of ending CSR reimbursements predicted that “[m]any insurers

might react to the end of subsidy payments by exiting the ACA marketplaces. If insurers choose

to remain in the marketplaces, they would need to raise premiums to offset the loss of the

payments.” 16

       45.      As an October 13, 2017 joint statement from America’s Health Insurance Plans

and Blue Cross and Blue Shield Association noted, the decision to end CSR reimbursements has

“real consequences,” including that “[c]osts will go up and choices will be restricted.” 17 These

effects are currently playing out in every major ACA exchange across the country.

       46.      Health Options is not immune to these harms, and in fact has already suffered,

and will continue to suffer, their effects. Like other QHP issuers, Health Options was owed

monthly CSR reimbursements in October 2017, November 2017, and December 2017 that have

not been paid. By the Government’s own accounting, Health Options is owed $5,651,672.49 18


15
   See CBO, Federal Subsidies Under the Affordable Care Act for Health Insurance Coverage
Related to the Expansion of Medicaid and Nongroup Health Insurance: Tables from CBO’s
January 2017 Baseline at 4, available at
https://www.cbo.gov/sites/default/files/recurringdata/51298-2017-01-healthinsurance.pdf.
16
   Larry Levitt, Cynthia Cox, and Gary Claxton, The Effects of Ending the Affordable Care Act’s
Cost-Sharing Reduction Payments, Kaiser Family Foundation, Apr. 25, 2017, available at
https://www.kff.org/health-reform/issue-brief/the-effects-of-ending-the-affordable-care-acts-
cost-sharing-reduction-payments/.
17
   Kristine Grow, Health Plans Issue Joint Statement Regarding Funding for Cost-Sharing
Reduction Benefits for Millions of Americans, American Health Insurance Plans (AHIP), Oct. 13,
2017, available at https://www.ahip.org/joint-statement-regarding-funding-for-crs/.
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   $1,912,401.71 for October 2017; $1,890,782.79 for November 2017; and $1,848,487.99 for
December 2017.


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in unpaid CSR reimbursements for 2017. Like other QHP issuers, Health Options is still

required by law to provide cost-sharing reductions to eligible insureds, despite not receiving the

mandated reimbursement from the Government. This has caused Health Options and other QHP

issuers to suffer large financial losses. It also leads to instability in the insurance markets and

hinders Health Options’ and other QHP issuers’ ability to design and price plans effectively for

the ACA exchanges.

                                       CLAIMS FOR RELIEF

                                             COUNT ONE

                (Violation of Statutory and Regulatory Mandate to Make Payments)

          47.     Plaintiff realleges and incorporates the above paragraphs 1-46 as if fully set forth

herein.

          48.     As part of its obligations under Section 1402 of the ACA and/or its obligations

under Section 156.430, the Government is required to pay any eligible QHP the applicable cost-

sharing reductions mandated by the ACA.

          49.     Plaintiff is an eligible QHP issuer under the ACA, and based on its adherence to

the ACA and its notification of cost-sharing reduction amounts to CMS, satisfied the

requirements for payment from the Government under Section 1402 of the ACA and Section

156.430.

          50.     The Government has failed to perform as it is obligated under Section 1402 of the

ACA and Section 156.430, and has affirmatively stated that it will not satisfy those obligations

as required by the statute.

          51.     The Government’s failure to provide timely payments to Plaintiff is a violation of

Section 1402 of the ACA and Section 156.430, and Plaintiff estimates that it has suffered



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$5,651,672.49 in damages in payments for benefit year 2017 as a result of the Government’s

actions.

                                           COUNT TWO

                   (Breach of Implied-In-Fact Contract to Make Payments)

          52.   Plaintiff realleges and incorporates the above paragraphs 1-51 as if fully set forth

herein.

          53.   Plaintiff entered into a valid implied-in-fact contract with the Government

regarding the Government’s obligation to make full and timely CSR payments to Plaintiff in

exchange for its agreement to become a QHP issuer and participate in the health care exchanges.

          54.   Section 1402 of the ACA, HHS’s implementing regulations, the Government’s

actions in making CSR payments for benefit years 2014, 2015, 2016, and nine months of 2017,

and the actions of agency officials with authority to bind the Government regarding their

obligation to make CSR payments constitute a clear and unambiguous offer by the Government

to make full and timely CSR payments to health insurers, including Plaintiff, that agreed to

participate as QHP issuers in the ACA marketplaces. This offer evidences a clear intent by the

Government to contract with Plaintiff.

          55.   Plaintiff accepted the Government’s offer by agreeing to become a QHP issuer,

accepting the obligations, responsibilities, and conditions the Government imposed on QHP

issuers under the ACA and proceeding to provide health insurance on the health care exchanges.

Plaintiff satisfied and complied with its obligations and conditions that existed under the

implied-in-fact contract.

          56.   The Government’s agreement to make full and timely CSR payments was a

significant factor material to the decision of Plaintiff to participate in the health care exchanges.



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       57.     The parties’ mutual intent to contract is further confirmed by the parties’ conduct,

performance, and statements following Plaintiff’s acceptance of the Government’s offer, and the

Government’s repeated assurances that full and timely CSR payments would be made.

       58.     The implied-in-fact contract was also supported by mutual consideration: the

CSR’s reimbursement to alleviate the financial requirement that QHP issuers were forced to bear

under the ACA was a critical consideration that significantly influenced Plaintiff’s decision to

become a QHP issuer and participate in the exchanges. Plaintiff, in turn, provided a real benefit

to the Government by agreeing to become a QHP issuer and participating in the exchanges, as

adequate insurer participation was crucial to the Government achieving the overarching goal of

the ACA exchange programs—to guarantee the availability of affordable, high-quality health

insurance coverage for all Americans by protecting consumers from increases in premiums.

       59.     The Government induced Plaintiff to participate in the health care exchanges in

part by including the CSR payments in Section 1402 of the ACA and its implementing

regulations, by which the Government committed to make health insurers whole financially for

the mandated cost-sharing reductions.

       60.     The Government repeatedly acknowledged its commitments to provide financial

assistance to QHP issuers and its obligations to make full and timely CSR payments to

qualifying issuers through its conduct and statements to the public and to Plaintiff, made or

ratified by representatives of the Government who had express or implied actual authority to

bind the Government.

       61.     The Government’s failure to make full and timely CSR payments to Plaintiff is a

material breach of the implied-in-fact contract, and Plaintiff has suffered damages estimated to

be $5,651,672.49 for benefit year 2017.



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                                     PRAYER FOR RELIEF

Plaintiff requests the following relief:

        A.     That the Court award Plaintiff $5,651,672.49, the amount to which Plaintiff is

entitled under Section 1402 of the Affordable Care Act and Section 156.430;

        B.     That the Court award pre-judgment and post-judgment interest at the maximum

rate permitted under the law;

        C.     That the Court award such court costs, litigation expenses, and attorneys’ fees as

are available under applicable law; and

        D.     That the Court award such other and further relief as the Court deems proper and
just.


December 28, 2017                                           Respectfully submitted,


                                                            /s/ Stephen McBrady
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                                CERTIFICATE OF SERVICE

       I certify that on December 28, 2017, a copy of the forgoing Complaint was filed

electronically using the Court’s Electronic Case Filing (ECF) system. I understand that notice of

this filing will be served on Defendant’s Counsel via the Court’s ECF system.


                                                            /s/ Stephen McBrady
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